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                                 UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF SOUTH CAROLINA


 In re:                                                              Case No. 17-01130-jw

          Connie Lynette Hardwick,
                                                                     Chapter 11

          Debtor.


 This proceeding comes before the Court on the application of the Debtors for authority to sell free and clear of
 liens the estate's interest in 785.57 acres and 375 acres TMS #s 00370-01-011 and 00371-01-001 in Florence
 County, SC

 The Court has been informed that all parties in interest have been notified of the intention to sell said property and
 that no objection to the proposed sale has been recei ved or filed by any party with the Court. The Debtors have
 represented to the Court that such sale is in the best interest of creditors of the estate. The Debtors have also
 informed the Court that liens claimed by Arborone, ACA against the property should receive the net proceeds
 from the sale of the property up to the amount owed. It is therefore,

 ORDERED, ADJUDGED, AND DECREED, that the Debtors may sell and to convey the estate's interest in the
 above-described property, and that the liens claimed by the above-named creditors shall be paid the net proceeds
 upon the sale of the property.

 IT IS FURTHER ORDERED, ADJUDGED, AND DECREED, $11,266.77 will go to pay special counsel Morgan
 Martin, $7,726.08 will go to pay the CPA Crowley Wechsler & Associates, LLC, and $47,825.42 will go to pay
 Debtors’ counsel the Markham Law Firm for fees related to the Debtors’ bankruptcy.

 IT IS FURTHER ORDERED, ADJUDGED, AND DECREED, that the stay provided by Fed. R. Bankr.
 P. 6004 does not apply to this sale.

 THE APPLICANT:

Date: September 18, 2018                      __/s/Sean Markham
                                             Sean Markham, I.D. # 10145
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